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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff/Respondent,                    )
                                          )
 vs.                                      )    NO. 2:09-CR-43
                                          )        2:13-CV-454
 JOVAN DEMONT STEWART,                    )
                                          )
 Defendant/Petitioner.                    )


                           OPINION AND ORDER
       This matter is before the Court on the Motion for Status,

 filed by Defendant, Jovan Demont Stewart, on May 11, 2015.                  (DE

 #627.)   For the reasons set forth below, the motion is DENIED for

 lack of jurisdiction.

       In his current motion, Stewart “Moves this Honorable Court for

 the Status of his pending Motion before this Court entitled

 ‘PETITION FOR INTERVENTION OF THE CHIEF UNITED STATES DISTRICT

 JUDGE PHILLIP (sic) P. SIMON FOR RECUSAL AND RECONSIDERATION

 PURPOSES UNDER EXTRAORDINARY CIRCUMSTANCES.”          (DE #627.)

       On April 8, 2015, this Court denied both the Motion for

 Recusal of United States District Court Judge Rudy Lozano (DE #618)

 and the Petition for Intervention of the Chief United States

 District    Judge    Phillip   [sic.]    P.   Simon    for     Recusal      and

 Reconsideration Purposes Under Extraordinary Circumstances (DE
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 #619), noting that this Court had already ruled upon all of

 Stewart’s previously filed motions. (See DE #620.) The Court also

 pointed out that Stewart’s motion and petition did not meet the

 statutory requirements for recusal and/or reassignment because he

 did not file an affidavit and did not show that any alleged

 personal bias stemmed from an extrajudicial source.                     (Id.)       As

 noted, the Court’s rulings in this case do not, by themselves,

 constitute a reason to recuse or a reason for another judge to

 intervene. (Id.) Despite Stewart’s statements to the contrary, no

 motion or petition remained “pending” following this Court’s April

 8, 2015, Opinion and Order.

       On the same day he filed the instant Motion for Status,

 Stewart filed an Amended Notice of Appeal.                (DE #628.)        In it, he

 lists various orders that he is appealing, including the Court’s

 April 8, 2015, Opinion and Order that denied both the Motion for

 Recusal and the Petition for Intervention.                    (Id. at p. 2.)1

 Because the Court has already ruled upon both of those filings and

 Stewart has filed an Amended Notice of Appeal as to those rulings,

 this Court lacks jurisdiction to address the matter further.

             The filing of a notice of appeal is an event
             of jurisdictional significance — it confers
             jurisdiction on the court of appeals and


       1
          Stewart has indicated that he “reserves the right to Amend and/or
 Supplement and Consolidate any denial of (DE. 619) to this instant appeal.”
 (DE #628, p. 2.) Although Stewart believes that the Petition for Intervention
 remains pending before Chief Judge Simon, he is mistaken; that petition was
 denied by this Court on April 8, 2015. (DE #620.)

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             divests the district court of its control over
             those aspects of the case involved in the
             appeal.    Only one court at a time has
             jurisdiction over a subject. The point of the
             rule is to avoid the confusion of placing the
             same matter before two courts at the same time
             and to preserve the integrity of the appeal
             process.

 United States v. Brown, 732 F.3d 781, 787 (7th Cir. 2013) (internal

 citations and quotation marks omitted).

       Additionally, even if this Court did have jurisdiction to

 address the matter, it would deny Stewart’s Motion for Status as

 moot. As noted repeatedly above, the Petition for Intervention was

 already denied, and nothing remains pending before either this

 Court of Chief Judge Simon.



 DATED:      May 14, 2015                     /s/ RUDY LOZANO, Judge
                                              United States District Court




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